Case 1:24-cv-00718-JMB-SJB ECF No. 17, PageID.308 Filed 07/23/24 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

CATHOLIC CHARITIES OF JACKSON,
LENAWEE AND HILLSDALE COUNTIES
and EMILY MCJONES,
                                             No. 1:24-cv-00718-JMB-SJB
            Plaintiffs,
                                             HON. JANE M. BECKERING
v
                                             MAG. SALLY J. BERENS
GRETCHEN WHITMER, in her official
capacity as Governor of Michigan;               STIPULATED ORDER TO
                                                  EXTEND TIME FOR
DANA NESSEL, in her official capacity as        DEFENDANT ATTORNEY
Attorney General of Michigan;                  GENERAL TO RESPOND TO
                                                   THE COMPLAINT
AMY GUMBRECHT, in her official capacity
as Director of the Bureau of Professional
Licensing in the Michigan Department of
Licensing and Regulatory Affairs;

ELIZABETH HERTEL, in her official
capacity as director of the Michigan
Department of Health and Human Services;

NAPOLEON HARRINGTON, SHERI
PICKOVER, LESLEY ADDISON, LAURA
MAMMEN, ROBIN CHOSA, MARY
BILLMAN, WALTER HARPER, CHARLES
HUGHES, JANET GLAES, ROTESA
BAKER, ROBERTO OVERTON, and
COURTENAY MORSI, in their official
capacities as members of the Michigan
Board of Counseling,

JULIAN DIAZ, DANIELLE HOOVER,
JANET JOINER, MARIA PETRIDES,
PETRA ALSOOFY, MAXINE THOME,
VICTOR WEIPERT, ROCHELLE VRSEK,
and CHINA SELLS, in their official
capacities as member of the Michigan Board
of Social Workers; and
Case 1:24-cv-00718-JMB-SJB ECF No. 17, PageID.309 Filed 07/23/24 Page 2 of 3




LATRICIA POWELL, JOHN RANDLE,
GARY HARPER, FRANCES BROWN,
CHARMEKA NEWTON, HARPER WEST,
MELISSA GREY, BRANDELL ADAMS, and
COURTENAY MORSI, in their official
capacities as members of the Michigan
Board of Psychology,

              Defendants.


Luke Goodrich                                   Christopher W. Braverman (P70025)
Adele Keim                                      Daniel J. Ping (P81482)
Daniel L. Chen                                  Christopher Allen (P75329)
Kelly R. Oeltjenbruns                           Gallant Fish (P82196)
The Becket Fund for Religious Liberty           Assistant Attorney General
Attorneys for Plaintiffs                        Michigan Dep’t of Attorney General
1919 Pennsylvania Ave., NW, Ste. 400            Attorneys for Defendants
Washington, DC 20006                            P.O. Box 30736
(202) 955-0095                                  Lansing, MI 48909
lgoodrich@becketlaw.org                         (517) 335-7632
akeim@becketlaw.org                             BravermanC@michigan.gov
dchen@becketlaw.org                             PingD@michigan.gov
koeltjenbruns@becketlaw.org                     AllenC2@michigan.gov
                                                FishG2@michigan.gov

 STIPULATED ORDER TO EXTEND TIME FOR DEFENDANT ATTORNEY
          GENERAL TO RESPOND TO THE COMPLAINT

       The above captioned parties, through their attorneys, stipulate that the

deadline for Defendant Attorney General Nessel (Attorney General) is extended as

follows:

       1.     The Attorney General was personally served with a copy of the

Summons and Complaint on July 15, 2024. (PageID.106-107.) Accordingly, her

deadline to answer or respond to the Complaint is August 5, 2024. Fed. R. Civ. P.

12(a)(1)(A)(i).


                                          2
Case 1:24-cv-00718-JMB-SJB ECF No. 17, PageID.310 Filed 07/23/24 Page 3 of 3




      2.      All other named defendants have since waived service under Fed. R.

Civ. P. 4(d). (PageID.108-114.)

      3.      Because all other defendants have waived service, their deadline to

answer or respond to the Complaint is 60 days after the requested waiver, which is

September 16, 2024. Fed. R. Civ. P. 12(a)(1)(A)(ii).

      THEREFORE, the parties agree that the Attorney General’s deadline shall

be extended to September 16, 2024 to align with the deadline for the other

defendants.

      IT IS SO ORDERED.



             23 2024
Dated: July ____,                                /s/ Jane M. Beckering
                                              ____________________________________
                                              HON. JANE M. BECKERING


Stipulated and Approved for Entry:


/s/ Luke Goodrich (with permission)
Luke Goodrich
Attorney for Plaintiffs


/s/ Christopher W. Braverman
Christopher W. Braverman (P70025)
Attorney for Defendants




                                          3
